                                                        Electronically Filed
                                                        Supreme Court
                                                        SCAP-XX-XXXXXXX
                                                        25-APR-2019
                                                        08:56 AM



                          SCAP-XX-XXXXXXX

          IN THE SUPREME COURT OF THE STATE OF HAWAII


      TAX FOUNDATION OF HAWAII, a non-profit corporation,
       on behalf of itself and those similarly situated,
                      Plaintiff-Appellant,

                                vs.

                         STATE OF HAWAII,
                        Defendant-Appellee.


       APPEAL FROM THE CIRCUIT COURT OF THE FIRST CIRCUIT
            (CAAP-XX-XXXXXXX; CIV. NO. 15-1-2020-10)

                              ORDER
(By: Recktenwald, C.J., Nakayama, McKenna, Pollack, and Wilson, JJ.)

          Upon consideration of Plaintiff-Appellant’s motion for

reconsideration filed on April 15, 2019, and the record herein,

          IT IS HEREBY ORDERED that the motion is denied.

          DATED:   Honolulu, Hawaii, April 25, 2019.

                              /s/ Mark E. Recktenwald

                              /s/ Paula A. Nakayama

                              /s/ Sabrina S. McKenna

                              /s/ Richard W. Pollack

                              /s/ Michael D. Wilson
